                       UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF NORTH CAROLINA

  ANTHONY REID and MADISON
  LUCAS, individually and on behalf of            Case No.
  those similarly situated,
                                                  CLASS ACTION COMPLAINT
                        Plaintiffs,
                                                  JURY TRIAL DEMANDED
                      vs.

  AHOLD DELHAIZE USA
  SERVICES, LLC,

                         Defendant.

                             CLASS ACTION COMPLAINT

       Plaintiffs Anthony Reid and Madison Lucas (“Plaintiffs”), individually and on

behalf of all others similarly situated, brings this action against Defendant Ahold Delhaize

USA Services, LLC (“Ahold” or “Defendant”) to obtain damages, restitution, and

injunctive relief from Defendant. Plaintiffs make the following allegations upon

information and belief, except as to their own actions, the investigation of their counsel,

and facts that are a matter of public record.

                              NATURE OF THE ACTION

       1.     This class action arises out of Defendant Ahold’s failures to properly secure,

safeguard, encrypt, and/or timely and adequately destroy Plaintiffs’ and Class Members’

(defined below) sensitive personal identifiable information that it had acquired and stored

for its business purposes.

       2.     Defendant represents itself as the “largest grocery retail group on the East




    Case 1:25-cv-00573-TDS-LPA          Document 1     Filed 07/08/25     Page 1 of 47
Coast.”1 Its brands include Food Lion, Giant, The Giant Company, Hannaford, and Stop &

Shop.2

         3.   As part of its employment and benefits packages, Ahold provides Health

Insurance benefits along with Group Life Insurance, Short and Long Term Disability and

401 (k) Savings Plans3 to individual employees and their families,” including Plaintiffs and

Class members.

         4.   According to a Data Breach Notification provided to the Maine Attorney

General’s Office, Defendant announced that it had experienced a hacking incident.4

Defendant’s “Notice of Data Breach” states that a data breach occurred on its network

between November 5, 2024 and November 6, 2024 (the “Data Breach”).5 The Data Breach

affected over 2.2 million individuals.6

         5.   According to cybernews sources, a ransomware group accessed Defendant’s

information network and exfiltrated data from Defendant’s network. 7 On June 30, 2025,

Inc Ransom reported having stolen 6 Tb of information from Ahold’s information

network.8

         6.   Due to Defendant’s data security failures which resulted in the Data Breach,

cybercriminals were able to target Defendant’s computer systems and exfiltrate highly


1 https://www.adusa.com/about-us (last visited July 7, 2025).
2 Id.
3 www.adusa.com/025_Benefits_at_a_Glance.pdf (last visited July 7, 2025).
4 https://www.maine.gov/agviewer/content/ag/985235c7-cb95-4be2-8792-

a1252b4f8318/b17963fc-3806-430e-b28e-bac47eb73a8b.html (last visited July 7, 2025).
5
  Id. See “Notice of Data Breach.”
6 Id.
7
  https://www.securityweek.com/ahold-delhaize-data-breach-impacts-2-2-million-people/ (last
visited July 7, 2025).
8 Id.




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    Case 1:25-cv-00573-TDS-LPA            Document 1     Filed 07/08/25     Page 2 of 47
sensitive and personally identifiable information (“PII”) and protected health information

(“PHI”) (collectively, the “Private Information”) belonging to Plaintiffs and Class

members. As a result of this Data Breach, Plaintiffs’ and Class members’ Private

Information of remains in the hands of those cybercriminals.

          7.      Defendant’s notice to the Maine AG states that it “detected a cybersecurity

issue involving unauthorized access to some of our internal U.S. business systems on

November 6, 2024,”9 “may have included internal employment records containing personal

information about you that we obtained in the course of providing services for certain

current and former Ahold Delhaize USA companies.” 10

          8.      Further, that it:

          immediately launched an investigation with the assistance of leading external
          cybersecurity experts, coordinated with U.S. federal law enforcement and began
          taking steps to contain the issue. Based on our investigation, we identified that an
          unauthorized third party obtained certain files from one of our internal U.S. file
          repositories between November 5 and 6, 2024.11

          9.      However, despite apparently learning of the Data Breach on or about

November 6, 2024, and determining that Private Information was involved in the breach,

Defendant did not begin sending notices to the victims of the Data Breach (the “Notice of

Data Breach Letters”) until June 26, 2025.

          10.     The Private Information compromised in the Data Breach included current

and former employees’ PII and PHI, including Plaintiffs. This Private Information

included, but is not limited to: name, contact information (for example, postal and email

9
    Id. n.4 , supra.
10 Id.
11 Id.




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       Case 1:25-cv-00573-TDS-LPA         Document 1      Filed 07/08/25    Page 3 of 47
address and telephone number), date of birth, government-issued identification numbers

(for example, Social Security, passport and driver’s license numbers), financial account

information (for example, bank account number), health information (for example,

workers’ compensation information and medical information contained in employment

records), and employment-related information.12

        11.     The Data Breach was a direct result of Defendant’s failure to implement

adequate and reasonable cybersecurity procedures and protocols necessary to protect

Plaintiffs’ and Class members’ Private Information with which it was entrusted for either

employment or treatment or both.

        12.     Plaintiffs brings this class action lawsuit on behalf of themselves and all other

similarly situated persons to address Defendant’s inadequate safeguarding of Class

members’ Private Information that it collected and maintained, and for failing to provide

timely and adequate notice to Plaintiffs and other Class members that their information had

been subject to the unauthorized access of an unknown third party and failing to include in

that belated and inadequate notice precisely what specific types of information were

accessed and taken by cybercriminals.

        13.     Defendant maintained the Private Information in a reckless manner. In

particular, the Private Information was maintained on Defendant’s computer network in a

condition vulnerable to cyberattacks. Upon information and belief, the mechanism of the

Data Breach and potential for improper disclosure of Plaintiffs’ and Class Members’



12 Id. n.4, supra.




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     Case 1:25-cv-00573-TDS-LPA           Document 1       Filed 07/08/25     Page 4 of 47
Private Information was a known risk to Defendant, and thus Defendant was on notice that

failing to take steps necessary to secure the Private Information from those risks left that

network in a dangerous condition.

       14.    Defendant disregarded the rights of Plaintiffs and Class Members by, inter

alia, intentionally, willfully, recklessly, or negligently failing to take adequate and

reasonable measures to ensure its data systems were protected against unauthorized

intrusions; failing to disclose that it did not have adequately robust computer systems and

security practices to safeguard Plaintiffs’ and Class Members’ Private Information; failing

to take standard and reasonably available steps to prevent the Data Breach; and failing to

provide Plaintiffs and Class Members with prompt and full notice of the Data Breach.

       15.    In addition, Defendant failed to properly monitor the computer network and

systems that housed the Private Information. Had Defendant properly monitored its

computer network and systems, it would have discovered the massive intrusion sooner

rather than allowing cybercriminals almost a month of unimpeded access to Plaintiffs’ and

Class members’ PII and PHI.

       16.    Plaintiffs’ and Class Members’ identities are now at risk because of

Defendant’s negligent conduct since the Private Information that Defendant collected and

maintained is now in the hands of data thieves.

       17.    Armed with the Private Information accessed in the Data Breach, data thieves

can commit a variety of crimes including: opening new financial accounts in Class

Members’ names, taking out loans in Class Members’ names, using Class Members’

information to obtain government benefits, filing fraudulent tax returns using Class


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    Case 1:25-cv-00573-TDS-LPA         Document 1      Filed 07/08/25     Page 5 of 47
Members’ information, filing false medical claims using Class Members’ information,

obtaining driver’s licenses in Class Members’ names but with another person’s photograph,

and giving false information to police during an arrest.

       18.    As a result of the Data Breach, Plaintiffs and Class Members have been

exposed to a heightened and imminent risk of fraud and identity theft. Plaintiffs and Class

Members must now and for years into the future closely monitor their financial accounts

to guard against identity theft.

       19.    Plaintiffs and Class Members may also incur out-of-pocket costs for, e.g.,

purchasing credit monitoring, credit freezes, credit reports, or other protective measures to

deter and detect identity theft.

       20.    Through this Complaint, Plaintiffs seeks to remedy these harms on behalf of

themselves and all other similarly situated individuals whose Private Information was

accessed during the Data Breach.

       21.    Accordingly, Plaintiffs brings this action against Defendant seeking redress

for its unlawful conduct, and asserting claims for: (i) negligence and negligence per se; (ii)

breach of implied contract, (iii) breach of fiduciary duty; (iv) unjust enrichment; and (v)

declaratory and injunctive relief.

       22.    Plaintiffs seeks remedies including, but not limited to, compensatory

damages, reimbursement of out-of-pocket costs, and injunctive relief including

improvements to Defendant’s data security systems, future annual audits, as well as long-

term and adequate credit monitoring funded by Defendant, and declaratory relief.

                                         PARTIES


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    Case 1:25-cv-00573-TDS-LPA          Document 1         Filed 07/08/25   Page 6 of 47
       23.      Plaintiff Anthony Reid is and at all times mentioned herein was an individual

citizen of Maryland. Plaintiff Reid was an Ahold employee and enrolled in its benefits

programs. Plaintiff Reid received notice of the Data Breach dated June 26, 2025, attached

as Exhibit A.

       24.      Plaintiff Madison Lucas is and at all times mentioned herein was an

individual citizen of Pennsylvania. Plaintiff Lucas was an Ahold employee and enrolled in

its benefits programs. Plaintiff Lucas received notice of the Data Breach dated June 26,

2025, attached as Exhibit B.

       25.      Like Plaintiffs, other potential Class members received similar notices

informing them that their Private Information was exposed in the Data Breach on or about

June 26, 2025.

       26.      Defendant Ahold Delhaize USA Services, LLC is a Delaware limited

liability company with its principal place of business located at 2110 Executive Dr,

Salisbury, North Carolina, 28147.

       27.      The true names and capacities of persons or entities, whether individual,

corporate, associate, or otherwise, who may be responsible for some of the claims alleged

here are currently unknown to Plaintiffs.

       28.      Plaintiffs will seek leave of court to amend this Complaint to reflect the true

names and capacities of the responsible parties when their identities become known.

                              JURISDICTION AND VENUE

       29.      This Court has subject matter jurisdiction over this matter pursuant to 28

U.S.C. § 1332(d). The amount in controversy in this Class action exceeds $5,000,000,


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    Case 1:25-cv-00573-TDS-LPA            Document 1      Filed 07/08/25    Page 7 of 47
exclusive of interest and costs, and there are numerous Class members who are citizens of

states other than Defendant’s state of citizenship.

       30.     This Court has personal jurisdiction over the parties in this case. Defendant

Ahold conducts business in this District and is a citizen of this District by virtue of having

its principal place of business located in this District.

       31.     Venue is proper in this District under 28 U.S.C. §1391(b) because Ahold

maintains a headquarters in this District and regularly conducts business in this District.

                                 FACTUAL ALLEGATIONS
                                    Defendant’s Business

       32.     Defendant Ahold represents itself as “the largest grocery retail group on the

East Coast and the fourth largest in the nation, serving millions of omnichannel customers

each week.13

       33.     In the ordinary course of its business, Defendant requires each employee to

provide (and Plaintiffs did provide) Defendant with sensitive, personal, and private

information, such as their:

       •       Name, address, phone number, and email address;

       •       Date of birth;

       •       Social Security number;

       •       Marital status;

       •       contact information;

       •       Primary and secondary insurance policy holders’ name, and address;


13 https://www.adusa.com/ (last visited July 7, 2025).




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    Case 1:25-cv-00573-TDS-LPA            Document 1        Filed 07/08/25   Page 8 of 47
       •      Demographic information;

       •      Driver’s license or state or federal identification;

       •      Information relating to the individual’s medical and medical history;

       •      Insurance information and coverage; and

       •      Banking and/or credit card information.

       34.    Defendant also creates and stores medical records and other protected health

information for its employees, including records of treatments and diagnoses.

       35.    Defendant agreed to and undertook legal duties to maintain the protected

health and personal information entrusted to it by Plaintiffs and Class members safely,

confidentially, and in compliance with all applicable laws, including the Federal Trade

Commission Act (“FTCA”), 15 U.S.C. § 45, and the Health Insurance Portability and

Accountability Act (“HIPAA”).

       36.    Yet, through its failure to properly secure Plaintiffs’ and Class members’

Private Information, Defendant failed to meet its own promises of employee privacy.

       37.    The employee information held by Defendant in its computer system and

network included Plaintiffs’ and Class members’ highly sensitive Private Information.

                                     The Data Breach

       38.    A data breach occurs when cyber criminals intend to access and steal Private

Information that has not been adequately secured by a business entity like Defendant.

       39.    According to Defendant’s Notice, it learned of a cyberattack on its computer

systems on or about April 17, 2025, when it detected suspicious activity in its information




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    Case 1:25-cv-00573-TDS-LPA          Document 1       Filed 07/08/25   Page 9 of 47
network.14

        40.     As above, during April 2025, a well-known ransomware group, “Inc

Ransom” claimed to have exfiltrated 6 Tb of employee data and reported publishing a

“sample” of over 800 Gb on its dark web site. 15




        41.     Presently, however, Defendant has provided no public information on the

ransom demand or payment.

        42.     In January 2023, two years before the attack, HHS created a presentation

specifically for healthcare providers and IT departments, warning entities like Defendant

of the severe threats posed by cybercriminal groups.16 Within the healthcare industry, the

risk of a cyberattack is well-known and preventable with adequate security systems in


14
   https://www.securityweek.com/ahold-delhaize-confirms-data-stolen-in-ransomware-attack/
(last visited July 7, 2025).
15 Image at https://www.securityweek.com/ahold-delhaize-data-breach-impacts-2-2-million-
people/ (last visited July 7, 2025).
16
  https://www.hhs.gov/sites/default/files/royal-blackcat-ransomware-tlpclear.pdf (last visited July 7,
2025).


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     Case 1:25-cv-00573-TDS-LPA              Document 1         Filed 07/08/25       Page 10 of 47
place.

         43.   On or about June 26, 2025, months after Defendant learned that the Class

members’ Private Information was attacked by cybercriminals, Defendant’s employees

began receiving their notices of the Data Breach informing them that its investigation

determined that their Private Information was accessed.

         44.   Defendant’s notice letters list time-consuming, generic steps that victims of

data security incidents can take, such as getting a copy of a credit report or notifying law

enforcement about suspicious financial account activity. Defendant offered two years of

credit monitoring for members of the class and Defendant offered no other substantive

steps to help victims like Plaintiffs and Class members to protect themselves. On

information and belief, Defendant sent a similar generic letter to all other individuals

affected by the Data Breach.

         45.   Defendant’s data security obligations were particularly important given the

substantial increase in cyberattacks in recent years.

         46.   Defendant knew or should have known that its electronic records would be

targeted by cybercriminals.

         47.   Defendant had obligations created by HIPAA, FTCA, contract, industry

standards, common law, and representations made to Plaintiffs and Class Members to keep

their Private Information confidential and to protect it from unauthorized access and

disclosure.

         48.   Plaintiffs and Class Members provided their Private Information to

Defendant with the reasonable expectation and mutual understanding that Defendant would


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    Case 1:25-cv-00573-TDS-LPA         Document 1       Filed 07/08/25   Page 11 of 47
comply with its obligations to keep such information confidential and secure from

unauthorized access.

                                The Data Breach was a
                  Foreseeable Risk of which Defendant was on Notice.

       49.    It is well known that PII and PHI, including Social Security numbers in

particular, is a valuable commodity and a frequent, intentional target of cyber criminals.

Companies that collect such information, including Defendant, are well-aware of the risk

of being targeted by cybercriminals.

       50.    Individuals place a high value on the privacy of their PII and PHI. Identity

theft causes severe negative consequences to its victims, as well as severe distress and

hours of lost time trying to fight against the impact of identity theft.

       51.    A data breach increases the risk of becoming a victim of identity theft.

Victims of identity theft can suffer from both direct and indirect financial losses. According

to a research study published by the Department of Justice, “[a] direct financial loss is the

monetary amount the offender obtained from misusing the victim’s account or personal

information, including the estimated value of goods, , or cash obtained. It includes both

out-of-pocket loss and any losses that were reimbursed to the victim. An indirect loss

includes any other monetary cost caused by the identity theft, such as legal fees, bounced

checks, and other miscellaneous expenses that are not reimbursed (e.g., postage, phone

calls, or notary fees). All indirect losses are included in the calculation of out-of-pocket




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    Case 1:25-cv-00573-TDS-LPA          Document 1       Filed 07/08/25    Page 12 of 47
loss.”17

       52.     Individuals, like Plaintiffs and Class Members, are particularly concerned

with protecting the privacy of their Social Security numbers, which are the key to stealing

any person’s identity and is likened to accessing one’s DNA for hacker’s purposes.

       53.     Data Breach victims suffer long-term consequences when their Social

Security numbers are taken and used by hackers. Even if they know their Social Security

numbers are being misused, Plaintiffs and Class Members cannot obtain new numbers

unless they become a victim of Social Security number misuse.

       54.     The Social Security Administration has warned that “a new number probably

won’t solve all your problems. This is because other government agencies (such as the IRS

and state motor vehicle agencies) and private businesses (such as banks and credit reporting

companies) will have records under your old number. Along with other personal

information, credit reporting companies use the number to identify your credit record. So,

using a new number won’t guarantee you a fresh start. This is especially true if your other

personal information, such as your name and address, remains the same.” 18

       55.     Additionally in 2021, there was a 15.1% increase in cyberattacks and data

breaches from 2020. Over the next two years, in a poll of security executives, they have

predicted an increase in attacks from “social engineering and ransomware” as nation-states

and cybercriminals grow more sophisticated. Unfortunately, these preventable cases will



17 “Victims of Identity Theft, 2018,” U.S. Department of Justice (April 2021, NCJ 256085)

available at: https://bjs.ojp.gov/content/pub/pdf/vit18.pdf (last visited July 7, 2025).
18 https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited July 7, 2025).




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    Case 1:25-cv-00573-TDS-LPA             Document 1        Filed 07/08/25      Page 13 of 47
largely come from “misconfigurations, human error, poor maintenance, and unknown

assets.”19

       56.     Cyberattacks have become so notorious that the FBI and U.S. Secret Service

have issued a warning to potential targets so they are aware of, and prepared for, and

hopefully can ward off a cyberattack.

       57.     According to an FBI publication, “[r]ansomware is a type of malicious

software, or malware, that prevents you from accessing your computer files, systems, or

networks and demands you pay a ransom for their return. Ransomware attacks can cause

costly disruptions to operations and the loss of critical information and data.” 20 This

publication also explains that “[t]he FBI does not support paying a ransom in response to

a ransomware attack. Paying a ransom doesn’t guarantee you or your organization will get

any data back. It also encourages perpetrators to target more victims and offers an incentive

for others to get involved in this type of illegal activity.” 21

       58.     Despite the prevalence of public announcements of data breach and data

security compromises, and despite its own acknowledgments of data security

compromises, and despite its own acknowledgment of its duties to keep PII and PHI private

and secure, Defendant failed to take appropriate steps to protect the PII and PHI of

Plaintiffs and the proposed Class from being compromised.




19 https://www.forbes.com/sites/chuckbrooks/2022/06/03/alarming-cyber-statistics-for-mid-year-

2022-that-you-need-to-know/?sh=176bb6887864 (last visited July 7, 2025).
20 https://www.fbi.gov/how-we-can-help-you/safety-resources/scams-and-safety/common-scams-

and-crimes/ransomware (last visited July 7, 2025).
21 Id.




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    Case 1:25-cv-00573-TDS-LPA            Document 1       Filed 07/08/25   Page 14 of 47
                   Defendant Failed to Comply with FTC Guidelines.

       59.     The Federal Trade Commission (“FTC”) has promulgated numerous guides

for businesses which highlight the importance of implementing reasonable data security

practices. According to the FTC, the need for data security should be factored into all

business decision-making.

       60.    In October 2016, the FTC updated its publication, Protecting Personal

Information: A Guide for Business, which established cyber-security guidelines for

businesses. The guidelines note that businesses should protect the personal patient

information that they keep; properly dispose of personal information that is no longer

needed; encrypt information stored on computer networks; understand their network’s

vulnerabilities; and implement policies to correct any security problems. 22 The guidelines

also recommend that businesses use an intrusion detection system to expose a breach as

soon as it occurs; monitor all incoming traffic for activity indicating someone is attempting

to hack the system; watch for large amounts of data being transmitted from the system; and

have a response plan ready in the event of a breach.23

       61.    The FTC further recommends that companies not maintain PII longer than is

needed for authorization of a transaction; limit access to sensitive data; require complex

passwords to be used on networks; use industry-tested methods for security; monitor for

suspicious activity on the network; and verify that third-party service providers have


22 Protecting Personal Information: A Guide for Business, Federal Trade Commission (2016).

Available at https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-
personal-information.pdf (last visited July 7, 2025).
23 Id.




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    Case 1:25-cv-00573-TDS-LPA          Document 1       Filed 07/08/25   Page 15 of 47
implemented reasonable security measures.

       62.     The FTC has brought enforcement actions against businesses, like that of

Defendant, for failing to adequately and reasonably protect employee data, treating the

failure to employ reasonable and appropriate measures to protect against unauthorized

access to confidential consumer data as an unfair act or practice prohibited by Section 5 of

the Federal Trade Commission Act (“FTCA”), 15 U.S.C. § 45. Orders resulting from these

actions further clarify the measures businesses must take to meet their data security

obligations.

       63.     These FTC enforcement actions include actions against healthcare providers

like Defendant. See, e.g., In the Matter of LabMD, LLC, A Corp, 2016-2 Trade Cas. (CCH)

¶ 79708, 2016 WL 4128215, at *32 (MSNET July 28, 2016) (“[T]he Commission

concludes that LabMD’s data security practices were unreasonable and constitute an unfair

act or practice in violation of Section 5 of the FTC Act.”).

       64.     Defendant failed to properly implement basic data security practices.

       65.     Defendant’s failure to employ reasonable and appropriate measures to

protect against unauthorized access to employees’ PII and PHI constitutes an unfair act or

practice prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45.

       66.     Defendant was at all times fully aware of its obligation to protect the PII and

PHI of its employees. Defendant was also aware of the significant repercussions that would

result from its failure to do so.

                  Defendant Failed to Comply with Industry Standards.

       67.     As shown above, experts studying cyber security routinely identify


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    Case 1:25-cv-00573-TDS-LPA          Document 1      Filed 07/08/25     Page 16 of 47
healthcare providers as being particularly vulnerable to cyberattacks because of the value

of the PII and PHI which they collect and maintain.

       68.     Several best practices have been identified that a minimum should be

implemented by healthcare providers like Defendant, including but not limited to:

educating all employees; utilizing strong passwords; creating multi-layer security,

including firewalls, anti-virus, and anti-malware software; encryption, making data

unreadable without a key; using multi-factor authentication; protecting backup data, and;

limiting which employees can access sensitive data.

       69.     Other best cybersecurity practices that are standard in the healthcare industry

include installing appropriate malware detection software; monitoring and limiting the

network ports; protecting web browsers and email management systems; setting up

network systems such as firewalls, switches and routers; monitoring and protection of

physical security systems; protection against any possible communication system; training

staff regarding critical points.

       70.     Defendant failed to meet the minimum standards of any of the following

frameworks: the NIST Cybersecurity Framework Version 1.1 (including without limitation

PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-

5, PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the

Center for Internet Security’s Critical Security Controls (CIS CSC), which are all

established standards in reasonable cybersecurity readiness.

       71.     These frameworks are existing and applicable industry standards in the

healthcare industry, yet Defendant failed to comply with these accepted standards, thereby


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    Case 1:25-cv-00573-TDS-LPA          Document 1      Filed 07/08/25     Page 17 of 47
opening the door to and failing to thwart the Data Breach.

                     Data Breaches Put Consumers at an Increased Risk
                               Of Fraud and Identify Theft

       72.       Data Breaches such as the one Plaintiffs and Class Members experienced

cause significant disruption to the overall daily lives of victims affected by the attack.

       73.       In 2019, the United States Government Accountability Office released a

report addressing the steps consumers can take after a data breach.24 Its appendix of steps

consumers should consider, in extremely simplified terms, continues for five pages. In

addition to explaining specific options and how they can help, one column of the chart

explains the limitations of the consumers’ options. See GAO chart of consumer

recommendations, reproduced and attached as Exhibit B. It is clear from the GAO’s

recommendations that the steps Data Breach victims (like Plaintiffs and Class) must take

after a breach like Defendant’s are both time consuming and of only limited and short-term

effectiveness.

       74.       The GAO has long recognized that victims of identity theft will face

“substantial costs and time to repair the damage to their good name and credit record.”

       75.       The FTC, like the GAO, recommends that identity theft victims take several

steps to protect their personal and financial information after a data breach, including

contacting one of the credit bureaus to place a fraud alert (consider an extended fraud alert

that lasts for 7 years if someone steals their identity), reviewing their credit reports,

contacting companies to remove fraudulent charges from their accounts, placing a credit


24 https://www.gao.gov/assets/gao-19-230.pdf (last visited July 7, 2025).




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    Case 1:25-cv-00573-TDS-LPA           Document 1       Filed 07/08/25    Page 18 of 47
freeze on their credit, and correcting their credit reports. 25

       76.     Identity thieves use stolen personal information such as Social Security

numbers for a variety of crimes, including credit card fraud, phone or utilities fraud, and

bank/finance fraud.

       77.     Identity thieves can also use Social Security numbers to obtain a driver’s

license or official identification card in the victim’s name but with the thief’s picture; use

the victim’s name and Social Security number to obtain government benefits; or file a

fraudulent tax return using the victim’s information.

       78.     Theft of Private Information is also gravely serious. PII/PHI is valuable

property.26

       79.     It must also be noted there may be a substantial time lag – measured in years

-- between when harm occurs versus when it is discovered, and also between when Private

Information and/or financial information is stolen and when it is used. According to GAO:

       [L]aw enforcement officials told us that in some cases, stolen data may be held for
       up to a year or more before being used to commit identity theft. Further, once stolen
       data have been sold or posted on the Web, fraudulent use of that information may
       continue for years. As a result, studies that attempt to measure the harm resulting
       from data breaches cannot necessarily rule out all future harm.

See 2007 GAO Report, at p. 29.

       80.     Private Information and financial information are such valuable commodities




25 See https://www.identitytheft.gov/Steps (last visited July 7, 2025).
26 See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally Identifiable

Information (“PII”) Equals the “Value” of Financial Assets, 15 Rich. J.L. & Tech. 11, at *3-4
(2009) (“PII, which companies obtain at little cost, has quantifiable value that is rapidly reaching
a level comparable to the value of traditional financial assets.”) (citations omitted).


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    Case 1:25-cv-00573-TDS-LPA            Document 1        Filed 07/08/25      Page 19 of 47
to identity thieves that once the information has been compromised, criminals often trade

the information on the “cyber black-market” for years.

        81.     There is a strong probability that the entirety of the stolen information has

been dumped on the black market or will be dumped on the black market, meaning

Plaintiffs and Class Members are at an increased risk of fraud and identity theft for many

years into the future. This is evidenced by the fraud that has already taken place in

Plaintiffs’ case, as discussed in further detail below. Thus, Plaintiffs and Class Members

must vigilantly monitor their financial and medical accounts for many years to come.

        82.     As the HHS warns, “PHI can be exceptionally valuable when stolen and sold

on a black market, as it often is. PHI, once acquired by an unauthorized individual, can be

exploited via extortion, fraud, identity theft and data laundering. At least one study has

identified the value of a PHI record at $1000 each.”27

        83.     Furthermore, the Social Security Administration has warned that identity

thieves can use an individual’s Social Security number to apply for additional credit lines. 28

Such fraud may go undetected until debt collection calls commence months, or even years

later. Stolen Social Security numbers also make it possible for thieves to file fraudulent tax

returns, file for unemployment benefits, or apply for a job using a false identity. 29 Each of

these fraudulent activities is difficult to detect. An individual may not know that his or her

Social Security Number was used to file for unemployment benefits until law enforcement


27
   https://www.hhs.gov/sites/default/files/cost-analysis-of-healthcare-sector-data-breaches.pdf at 2
(citations omitted) (last visited July 7, 2025).
28
   Identity Theft and Your Social Security Number, Social Security Administration (last visited July 7,
2025 ). (2018) at 1. Available at https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited July 7, 2025).
29
   Id. at 4.


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     Case 1:25-cv-00573-TDS-LPA              Document 1        Filed 07/08/25       Page 20 of 47
notifies the individual’s employer of the suspected fraud. Fraudulent tax returns are

typically discovered only when an individual’s authentic tax return is rejected.

       84.    Moreover, it is not an easy task to change or cancel a stolen Social Security

number. An individual cannot obtain a new Social Security number without significant

paperwork and evidence of actual misuse. Even then, a new Social Security number may

not be effective, as “[t]he credit bureaus and banks are able to link the new number very

quickly to the old number, so all of that old bad information is quickly inherited into the

new Social Security number.”30

       85.    This data, as one would expect, commands a much higher price on the black

market. Martin Walter, senior director at cybersecurity firm RedSeal, explained,

“[c]ompared to credit card information, personally identifiable information and Social

Security numbers are worth more than 10x on the black market.” 31

                              PLAINTIFFS’ EXPERIENCES

       Plaintiff Anthony Reid

       86.    Plaintiff Anthony Reid was an Ahold employee and participated in

Defendant’s benefit programs.

       87.    Plaintiff Reid received a Notice of Data Breach Letter, related to Defendant’s




30 Brian Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR

(Feb. 9, 2015), http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-
millions-worrying-about-identity-theft (last visited July 7, 2025 ).
31 Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card

Numbers, Computer World (Feb. 6, 2015), http://www.itworld.com/article/2880960/anthem-hack-
personal-data-stolen-sells-for-10x-price-of-stolen-credit-card-numbers.html (last visited July 7,
2025 ).


                                               21

    Case 1:25-cv-00573-TDS-LPA           Document 1       Filed 07/08/25     Page 21 of 47
Data Breach that is dated June 26, 2025. See Exhibit A.

       88.       The Notice Letter that Plaintiff received does not explain exactly which parts

of his PII and PHI were accessed and taken but instead generically states that the files

contained his name, “internal employment records.” Id.

       89.       Plaintiff Reid is especially alarmed by the vagueness in the Notice Letter

regarding his stolen extremely private medical information, including his PII/PHI, as

among the breached data on Defendant’s computer system.

       90.       Since the Data Breach, Plaintiff Reid has tried to mitigate the damage by

changing his passwords, contacting the credit bureaus as Defendant instructed, and

monitoring his financial accounts for about 2 and a half hours per week. This is more time

than he spent prior to learning of the Defendant’s Data Breach. Having to do this every

week as a result of Defendant’s negligence not only wastes his time, but it also causes him

great anxiety.

       91.       Soon after the Data Breach, Plaintiff Reid began receiving an excessive

number of spam calls on the same cell phone number provided to Defendant on his records.

These calls are a distraction, must be deleted, and waste time each day. Given the timing

of the Data Breach, he believes that the calls are related to his stolen Private Information.

       92.       Plaintiff Reid is aware that cybercriminals often sell Private Information, and

once stolen, it is likely to be abused months or even years after Defendant’s Data Breach.

       93.       Plaintiff Reid has suffered imminent and impending injury arising from the

present and ongoing risk of fraud, identity theft, and misuse resulting from his Private

Information being placed in the hands of unauthorized third parties and possibly criminals.


                                                22

    Case 1:25-cv-00573-TDS-LPA            Document 1      Filed 07/08/25     Page 22 of 47
Plaintiff Reid suffered lost time, annoyance, interference, and inconvenience because of

the Data Breach.

       94.    Plaintiff Reid has experienced anxiety and increased concerns arising from

the fact that his Private Information has been or will be misused and from the loss of his

privacy.

       95.    The risk is not hypothetical. Here, a known hacking group intentionally

infiltrated the data, misused it, threatened to publish, or has published it on the Dark Web,

and the sensitive information, including names and Social Security numbers, is the type

that could be used to perpetrate identity theft or fraud.

       96.    Plaintiff further suffered actual injury in the form of damage to and

diminution in the value of Plaintiff’s Private Information —a form of intangible property

that Plaintiff entrusted to Defendant, which was compromised in and because of the Data

Breach. Future identity theft monitoring is reasonable and necessary, and such will include

future costs and expenses.

       97.    Plaintiff has a continuing interest in ensuring that his Private Information

which, upon information and belief, remains backed up in Defendant’s possession, is

protected and safeguarded from future breaches.

       98.    Had Plaintiff Reid been aware that Defendant’s computer systems were not

secure, he would not have entrusted Defendant with his PII and PHI.

       Plaintiff Madison Lucas

       99.    Plaintiff Lucas was an Ahold employee during the period between 2013 and

2015. Plaintiffs Lucas received a Notice of Data Breach Letter, related to Defendant’s Data


                                              23

    Case 1:25-cv-00573-TDS-LPA          Document 1      Filed 07/08/25    Page 23 of 47
Breach that is dated June 26, 2025. See Exhibit B.

       100.      The Notice Letter that Plaintiff received does not explain exactly which parts

of her PII and PHI were accessed and taken but instead generically states that the files

contained her name and “internal employment records.” Id.

       101.      Plaintiff Lucas is especially alarmed by the vagueness in the Notice Letter

regarding her stolen extremely private medical information, including her PII/PHI, as

among the breached data on Defendant’s computer system.

       102.      Since the Data Breach, Plaintiff Lucas has tried to mitigate the damage by

changing her passwords, contacting the credit bureaus as Defendant instructed, and

monitoring her financial accounts for about 2 and a half hours per week. This is more time

than she spent prior to learning of the Defendant’s Data Breach. Having to do this every

week not only wastes her time as a result of Defendant’s negligence, but it also causes him

great anxiety.

       103.      Soon after the Data Breach, Plaintiff Lucas began receiving an excessive

number of spam calls on the same cell phone number provided to Defendant on her records.

These calls are a distraction, must be deleted, and waste time each day. Given the timing

of the Data Breach, she believes that the calls are related to her stolen Private Information.

       104.      Plaintiff Lucas is aware that cybercriminals often sell Private Information,

and once stolen, it is likely to be abused months or even years after Defendant’s Data

Breach.

       105.      Plaintiff Lucas has suffered imminent and impending injury arising from the

present and ongoing risk of fraud, identity theft, and misuse resulting from her Private


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    Case 1:25-cv-00573-TDS-LPA            Document 1      Filed 07/08/25    Page 24 of 47
Information being placed in the hands of unauthorized third parties and possibly criminals.

Plaintiff Lucas suffered lost time, annoyance, interference, and inconvenience because of

the Data Breach.

       106.   Plaintiff Lucas has experienced anxiety and increased concerns arising from

the fact that her Private Information has been or will be misused and from the loss of her

privacy.

       107.   The risk is not hypothetical. Here, a known hacking group intentionally stole

the data, misused it, threatened to publish, or has published it on the Dark Web, and the

sensitive information, including names and Social Security numbers, is the type that could

be used to perpetrate identity theft or fraud.

       108.   Plaintiff Lucas further suffered actual injury in the form of damages to and

diminution in the value of Plaintiff’s Private Information —a form of intangible property

that Plaintiff Lucas entrusted to Defendant, which was compromised in and because of the

Data Breach. Future identity theft monitoring is reasonable and necessary, and such will

include future costs and expenses.

       109.   Plaintiff Lucas has a continuing interest in ensuring that her Private

Information which, upon information and belief, remains backed up in Defendant’s

possession, is protected and safeguarded from future breaches.

       110.   Had Plaintiff Lucas been aware that Defendant’s computer systems were not

secure, she would not have entrusted Defendant with her PII and PHI.

           PLAINTIFFS’ AND CLASS MEMBERS’ COMMON INJURIES

       111.   To date, Defendant has done absolutely nothing to compensate Plaintiffs and


                                                 25

    Case 1:25-cv-00573-TDS-LPA          Document 1    Filed 07/08/25    Page 25 of 47
Class Members for the damage they sustained in the Data Breach.

          112.   Defendant offered only two years of credit monitoring to class members.

          113.   Defendant fails to offer any compensation to victims of the Data Breach, who

commonly face multiple years of ongoing identity theft, and it entirely fails to provide any

compensation for its unauthorized release and disclosure of Plaintiffs’ and Class Members’

Private Information, out of pocket costs, and the time they are required to spend attempting

to mitigate their injuries.

          114.   Furthermore, Defendant’s failure to safeguard Plaintiffs’ and Class

Members’ Private Information, places the burden squarely on Plaintiffs and the Class,

rather than on the Defendant, to investigate and protect themselves from Defendant’s

tortious acts and omissions resulting in the Data Breach. Defendant merely sent instructions

to Plaintiffs and Class Members about actions they can affirmatively take to protect

themselves.

          115.   Plaintiffs and Class Members have been damaged by the compromise and

exfiltration, by cyber-criminals, of their Private Information as a result of the Data Breach,

and by the severe disruption to their lives as a direct and foreseeable consequence of this

Data Breach.

          116.   Plaintiffs and Class Members were damaged in that their Private Information

is now in the hands of cyber criminals being sold and potentially for sale for years into the

future.

          117.   As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class

Members have been placed at an actual, imminent, and substantial risk of harm from fraud


                                               26

    Case 1:25-cv-00573-TDS-LPA           Document 1      Filed 07/08/25    Page 26 of 47
and identity theft, especially in light of the actual fraudulent misuse of the Private

Information that has already taken place, as alleged herein.

       118.   As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class

Members have been forced to spend time dealing with the effects of the Data Breach.

       119.   Plaintiffs and Class Members face substantial risk of out-of-pocket fraud

losses such as loans opened in their names, medical claims billed in their names, tax return

fraud, utility bills opened in their names, credit card fraud, and similar identity theft.

Plaintiffs and Class Members may also incur out-of-pocket costs for protective measures

such as credit monitoring fees, credit report fees, credit freeze fees, and similar costs

directly or indirectly related to the Data Breach.

       120.   Plaintiffs and Class Members face substantial risk of being targeted for future

phishing, data intrusion, and other illegal schemes based on their Private Information as

potential fraudsters could use that information to more effectively target such schemes to

Plaintiffs and Class Members.

       121.   Plaintiffs and Class Members also suffered a loss of value of their Private

Information when it was acquired by cyber thieves in the Data Breach. Numerous courts

have recognized the propriety of loss of value damages in related cases.

       122.   Plaintiffs and Class Members have spent and will continue to spend

significant amounts of time monitoring their financial accounts and records for misuse.

       123.   Plaintiffs and Class Members have suffered or will suffer actual injury as a

direct result of the Data Breach. Many victims suffered ascertainable losses in the form of

out-of-pocket expenses and the value of their time reasonably incurred to remedy or


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    Case 1:25-cv-00573-TDS-LPA          Document 1     Filed 07/08/25      Page 27 of 47
mitigate the effects of the Data Breach relating to:

              a. Finding fraudulent charges;

              b. Canceling and reissuing credit and debit cards;

              c. Purchasing credit monitoring and identity theft prevention;

              d. Monitoring their medical records for fraudulent charges and data;

              e. Addressing their inability to withdraw funds linked to compromised

                 accounts;

              f. Taking trips to banks and waiting in line to obtain funds held in limited

                 accounts;

              g. Placing “freezes” and “alerts” with credit reporting agencies;

              h. Spending time on the phone with or at a financial institution to dispute

                 fraudulent charges;

              i. Contacting financial institutions and closing or modifying financial

                 accounts;

              j. Resetting automatic billing and payment instructions from compromised

                 credit and debit cards to new ones;

              k. Paying late fees and declined payment fees imposed because of failed

                 automatic payments that were tied to compromised cards that had to be

                 cancelled; and

              l. Closely reviewing and monitoring bank accounts and credit reports for

                 unauthorized activity for years to come.

       124.   Moreover, Plaintiffs and Class Members have an interest in ensuring that


                                             28

    Case 1:25-cv-00573-TDS-LPA         Document 1      Filed 07/08/25   Page 28 of 47
their Private Information, which is believed to remain in the possession of Defendant, is

protected from further breaches by the implementation of security measures and

safeguards, including but not limited to, making sure that the storage of data or documents

containing personal and financial information as well as health information is not

accessible online and that access to such data is password-protected.

       125.   Further, as a result of Defendant’s conduct, Plaintiffs and Class Members are

forced to live with the anxiety that their Private Information —which contains the most

intimate details about a person’s life—may be disclosed to the entire world, thereby

subjecting them to embarrassment and depriving them of any right to privacy whatsoever.

       126.   Defendant’s delay in identifying and reporting the Data Breach caused

additional harm. In a data breach, time is of the essence to reduce the imminent misuse of

PII and PHI. Early notification helps a victim of a Data Breach mitigate their injuries, and

in the converse, delayed notification causes more harm and increases the risk of identity

theft. Here, Defendant knew of the breach since November 6, 2024, and did not notify the

victims until June 26, 2025. Yet Defendant offered no explanation of purpose for the delay.

This delay violates HIPAA and other notification requirements and increased the injuries

to Plaintiffs and Class.

                           CLASS ACTION ALLEGATIONS

       127.   Plaintiffs bring all counts, as set forth below, individually and as a Class

action, pursuant to the provisions of the Fed. R. Civ. P. 23, on behalf of a Class defined as:

       All persons whose Private Information was compromised as a result of the
       Data Breach that is the subject of the Notice of Data Breach published by
       Defendant on or about June 26, 2025 (the “Class” or “Class Members”).


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    Case 1:25-cv-00573-TDS-LPA          Document 1      Filed 07/08/25    Page 29 of 47
       128.   Excluded from the Class are Defendant, its subsidiaries and affiliates,

officers and directors, any entity in which Defendant has a controlling interest, the legal

representative, heirs, successors, or assigns of any such excluded party, the judicial

officer(s) to whom this action is assigned, and the members of their immediate families.

       129.   This proposed Class definition is based on the information available to

Plaintiffs at this time. Plaintiffs may modify the Class definition in an amended pleading

or when she moves for Class certification, as necessary to account for any newly learned

or changed facts as the situation develops and discovery gets underway.

       130.   Numerosity – Fed. R. Civ. P. 23(a)(1): Plaintiffs are informed and believe,

and thereon allege, that there are at minimum, over a thousand members of the Class

described above. The exact size of the Class and the identities of the individual members

are identifiable through Ahold’s records, including but not limited to the files implicated

in the Data Breach.

       131.   Commonality – Fed. R. Civ. P. 23(a)(2): This action involves questions of

law and fact common to the Class. Such common questions include, but are not limited to:

              a.      Whether Ahold had a duty to protect Plaintiffs’ and Class members’

                      Private Information;

              b.      Whether Ahold was negligent in collecting and storing Plaintiffs’ and

                      Class members’ Private Information, and breached its duties thereby;

              c.      Whether Ahold breached its fiduciary duty to Plaintiffs and the Class;

              d.      Whether Ahold breached its duty of confidence to Plaintiffs and the



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   Case 1:25-cv-00573-TDS-LPA          Document 1      Filed 07/08/25    Page 30 of 47
                    Class;

             e.     Whether Ahold violated its own Privacy Practices;

             f.     Whether Ahold entered a contract implied in fact with Plaintiffs and

                    the Class;

             g.     Whether Ahold breached that contract by failing to adequately

                    safeguard Plaintiffs’ and Class members’ Private Information;

             h.     Whether Ahold was unjustly enriched;

             i.     Whether Plaintiffs and Class members are entitled to damages as a

                    result of Ahold’s wrongful conduct; and

             j.     Whether Plaintiffs and Class members are entitled to restitution

                    because of Ahold’s wrongful conduct.

      132.   Typicality – Fed. R. Civ. P. 23(a)(3): Plaintiffs’ claims are typical of the

claims of the members of the Class. The claims of the Plaintiffs and members of the Class

are based on the same legal theories and arise from the same unlawful and willful conduct.

Plaintiffs and members of the Class all had information stored in Ahold’s System, each

having their Private Information exposed and/or accessed by an unauthorized third party.

      133.   Adequacy of Representation – Fed. R. Civ. P. 23(a)(3): Plaintiffs are

adequate representatives of the Class because their interests do not conflict with the

interests of the other Class members Plaintiffs seeks to represent; Plaintiffs retained

counsel competent and experienced in complex Class action litigation; Plaintiffs intend to

prosecute this action vigorously; and Plaintiffs’ counsel has adequate financial means to

vigorously pursue this action and ensure the interests of the Class will not be harmed.


                                           31

   Case 1:25-cv-00573-TDS-LPA         Document 1      Filed 07/08/25    Page 31 of 47
Furthermore, the interests of the Class members will be fairly and adequately protected and

represented by Plaintiffs and Plaintiffs’ counsel.

       134.   Injunctive Relief, Fed. R. Civ. P. 23(b)(2): Defendant has acted and/or

refused to act on grounds that apply generally to the Class therefore making injunctive

and/or declarative relief appropriate with respect to the Class under 23(b)(2).

       135.   Superiority, Fed. R. Civ. P. 23(b)(3): A Class action is superior to other

available methods for the fair and efficient adjudication of the controversy. Class treatment

of common questions of law and fact is superior to multiple individual actions or piecemeal

litigation. Absent a Class action, most Class members would likely find that the cost of

litigating their individual claims is prohibitively high and would therefore have no effective

remedy. The prosecution of separate actions by individual Class members would create a

risk of inconsistent or varying adjudications with respect to individual Class members,

which would establish incompatible standards of conduct for Ahold. In contrast, the

conduct of this action as a Class action presents far fewer management difficulties,

conserves judicial resources and the parties’ resources, and protects the rights of each Class

member.

       136.   Ahold has acted on grounds that apply generally to the Class as a whole, so

that Class certification, injunctive relief, and corresponding declaratory relief are

appropriate on a Class-wide basis.

       137.   Likewise, particular issues are appropriate for certification because such

claims present only particular, common issues, the resolution of which would advance the




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    Case 1:25-cv-00573-TDS-LPA          Document 1      Filed 07/08/25     Page 32 of 47
disposition of this matter and the parties’ interests therein. Such particular issues include,

but are not limited to:

              a.      Whether Ahold failed to timely and adequately notify the public of

                      the Data Breach;

              b.      Whether Ahold owed a legal duty to Plaintiffs and the Class to

                      exercise due care in collecting, storing, and safeguarding their Private

                      Information;

              c.      Whether Ahold’s security measures to protect its data systems were

                      reasonable in light of best practices recommended by data security

                      experts;

              d.      Whether Ahold’s failure to institute adequate protective security

                      measures amounted to negligence;

              e.      Whether Ahold failed to take commercially reasonable steps to

                      safeguard consumers’ and employees’ Private Information; and

              f.      Whether adherence to FTC data security recommendations, and

                      measures recommended by data security experts would have

                      reasonably prevented the Data Breach.

       138.   Finally, all members of the proposed Class are readily ascertainable. Ahold

has access to Class members’ names and addresses affected by the Data Breach. Class

members have already been preliminarily identified and sent notice of the Data Breach by

Defendant.

                                  CAUSES OF ACTION


                                              33

    Case 1:25-cv-00573-TDS-LPA           Document 1     Filed 07/08/25     Page 33 of 47
                                          COUNT I
                                         Negligence
                         (On Behalf of Plaintiffs and Class Members)

       139.    Plaintiffs restate and reallege the allegations in the preceding paragraphs as

if fully set forth herein.

       140.    Defendant required Plaintiffs and Class Members to submit non-public

personal information in order to obtain healthcare services and/or employment.

       141.    By collecting and storing this data in Defendant’s computer network and

sharing it and using it for commercial gain, Defendant had a duty of care to use reasonable

means to secure and safeguard its computer network—and Class Members’ Private

Information held within it—to prevent disclosure of the information, and to safeguard the

information from theft. Defendant’s duty included a responsibility to implement processes

by which it could detect a breach of its security systems in a reasonably expeditious period

of time and to give prompt notice to those affected in the case of a Data Breach.

       142.    Defendant owed a duty of care to Plaintiffs and Class Members to provide

data security consistent with industry standards and other requirements discussed herein,

and to ensure that its systems and networks, and the personnel responsible for them,

adequately protected the Private Information.

       143.    Defendant’s duty of care to use reasonable security measures arose as a result

of the special relationship that existed between Defendant and its employees, which is

recognized by laws and regulations including but not limited to HIPAA, as well as common

law. Defendant was in a position to ensure that its systems were sufficient to protect against

the foreseeable risk of harm to Class Members from a Data Breach.


                                             34

    Case 1:25-cv-00573-TDS-LPA          Document 1      Filed 07/08/25    Page 34 of 47
        144.   Defendant’s duty to use reasonable security measures under HIPAA required

Defendant to “reasonably protect” confidential data from “any intentional or unintentional

use or disclosure” and to “have in place appropriate administrative, technical, and physical

safeguards to protect the privacy of protected health information.” 45 C.F.R. §

164.530(c)(1). Some or all of the healthcare, medical, and/or medical information at issue

in this case constitutes “protected health information” within the meaning of HIPAA.

        145.   In addition, Defendant had a duty to employ reasonable security measures

under Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits

“unfair . . . practices in or affecting commerce,” including, as interpreted and enforced by

the FTC, the unfair practice of failing to use reasonable measures to protect confidential

data.

        146.   Defendant’s duty to use reasonable care in protecting confidential data arose

not only as a result of the statutes and regulations described above, but also because

Defendant is bound by industry standards to protect confidential Private Information.

        147.   Defendant breached its duties, and thus were negligent, by failing to use

reasonable measures to protect Class Members’ Private Information. The specific negligent

acts and omissions committed by Defendant include, but are not limited to, the following:

          a.     Failing to adopt, implement, and maintain adequate security measures to

                 safeguard Class Members’ Private Information;

          b.     Failing to adequately monitor the security of its networks and systems;

          c.     Failure to periodically ensure that its email system had plans in place to

                 maintain reasonable data security safeguards;


                                             35

    Case 1:25-cv-00573-TDS-LPA         Document 1      Filed 07/08/25    Page 35 of 47
         d.     Allowing unauthorized access to Class Members’ Private Information;

         e.     Failing to detect in a timely manner that Class Members’ Private

                Information had been compromised; and

         f.     Failing to timely notify Class Members about the Data Breach so that they

                could take appropriate steps to mitigate the potential for identity theft and

                other damages.

       148.   It was foreseeable that Defendant’s failure to use reasonable measures to

protect Class Members’ Private Information would result in injury to Class Members.

Further, the breach of security was reasonably foreseeable given the known high frequency

of cyberattacks and data breaches in the healthcare industry.

       149.   It was therefore foreseeable that the failure to adequately safeguard Class

Members’ Private Information would result in one or more types of injuries to Class

Members.

       150.   Plaintiffs and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

       151.   Defendant’s negligent conduct is ongoing, in that it still holds the Private

Information of Plaintiffs and Class Members in an unsafe and unsecure manner.

       152.   Plaintiffs and Class Members are also entitled to injunctive relief requiring

Defendant to (i) strengthen its data security systems and monitoring procedures; (ii) submit

to future annual audits of those systems and monitoring procedures; and (iii) continue to

provide adequate credit monitoring to all Class Members.

                                        COUNT II


                                            36

   Case 1:25-cv-00573-TDS-LPA          Document 1      Filed 07/08/25    Page 36 of 47
                               Breach of Implied Contract
                         (On Behalf of Plaintiffs and Class Members)

       153.    Plaintiffs restate and reallege the allegations in the preceding paragraphs as

if fully set forth herein.

       154.    This Claim is pleaded in the alternative to Count III above.

       155.    When Plaintiffs and Class Members provided their Private Information to

Defendant in exchange for Defendant’s healthcare services, they entered into implied

contracts with Defendant pursuant to which Defendant agreed to reasonably protect such

information.

       156.    Defendant solicited, offered, and invited Class Members to provide their

Private Information as part of Defendant’s regular business practices. Plaintiffs and Class

Members accepted Defendant’s offers and provided their Private Information to Defendant.

       157.    In entering into such implied contracts, Plaintiffs and Class Members

reasonably believed and expected that Defendant’s data security practices complied with

relevant laws and regulations, including HIPAA, and were consistent with industry

standards.

       158.    Plaintiffs and Class Members paid money to Defendant with the reasonable

belief and expectation that Defendant would use part of its earnings to obtain adequate data

security. Defendant failed to do so.

       159.    Plaintiffs and Class Members would not have entrusted their Private

Information to Defendant in the absence of the implied contract between them and

Defendant to keep their information reasonably secure.



                                             37

    Case 1:25-cv-00573-TDS-LPA          Document 1      Filed 07/08/25    Page 37 of 47
       160.    Plaintiffs and Class Members would not have entrusted their Private

Information to Defendant in the absence of its implied promise to monitor its computer

systems and networks to ensure that it adopted reasonable data security measures.

       161.    Plaintiffs and Class Members fully and adequately performed their

obligations under the implied contracts with Defendant.

       162.    Defendant breached its implied contracts with Class Members by failing to

safeguard and protect their Private Information.

       163.    As a direct and proximate result of Defendant’s breach of the implied

contracts, Class Members sustained damages as alleged herein, including the loss of the

benefit of the bargain.

       164.    Plaintiffs and Class Members are entitled to compensatory, consequential,

and nominal damage suffered as a result of the Data Breach.

       165.    Plaintiffs and Class Members are also entitled to injunctive relief requiring

Defendant to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii)

submit to future annual audits of those systems and monitoring procedures; and (iii)

immediately provide adequate long-term credit monitoring to all Class Members.

                                         COUNT III
                                 Breach of Fiduciary Duty
                          (On Behalf of Plaintiffs and Class Members)

       166.    Plaintiffs restate and reallege the allegations in the preceding paragraphs as

if fully set forth herein.

       167.    In light of the special relationship between Defendant and Plaintiffs and

Class Members, whereby Defendant became guardian of Plaintiffs’ and Class Members’


                                              38

    Case 1:25-cv-00573-TDS-LPA           Document 1     Filed 07/08/25    Page 38 of 47
Private Information, Defendant became a fiduciary by its undertaking and guardianship of

the Private Information, to act primarily for Plaintiffs and Class Members: (1) for the

safeguarding of Plaintiffs’ and Class Members’ Private Information; (2) to timely notify

Plaintiffs and Class Members of a Data Breach and disclosure; and (3) to maintain

complete and accurate records of what information (and where) Defendant did and does

store.

         168.   Defendant has a fiduciary duty to act for the benefit of Plaintiffs and Class

Members upon matters within the scope of its relationship with its current and former

employees to keep their Private Information secure.

         169.   Defendant breached its fiduciary duties to Plaintiffs and Class Members by

failing to diligently discover, investigate, and give detailed notice of the Data Breach to

Plaintiffs and Class in a reasonable and practicable period of time.

         170.   Defendant breached its fiduciary duty to Plaintiffs and Class Members by

failing to encrypt and otherwise protect the integrity of the systems containing Plaintiffs’

and Class Members’ Private Information.

         171.   Defendant breached its fiduciary duty owed to Plaintiffs and Class Members

by failing to timely notify and/or warn Plaintiffs and Class Members of the Data Breach.

         172.   Defendant breached its fiduciary duty to Plaintiffs and Class Members by

otherwise failing to safeguard Plaintiffs’ and Class Members’ Private Information.

         173.   As a direct and proximate result of Defendant’s breaches of its fiduciary duty,

Plaintiffs and Class Members have suffered and will suffer injury, including but not limited

to: (i) actual identity theft; (ii) the compromise, publication, and/or theft of their Private


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    Case 1:25-cv-00573-TDS-LPA           Document 1      Filed 07/08/25     Page 39 of 47
Information; (iii) out-of-pocket expenses associated with the prevention, detection, and

recovery from identity theft and/or unauthorized use of their Private Information; (iv) lost

opportunity costs associated with effort expended and the loss of productivity addressing

and attempting to mitigate the actual and future consequences of the Data Breach, including

but not limited to efforts spent researching how to prevent, detect, contest, and recover

from identity theft; (v) the continued risk to their Private Information, which remains in

Defendant’s possession and is subject to further unauthorized disclosures so long as

Defendant fails to undertake appropriate and adequate measures to protect the Private

Information in its continued possession; (vi) future costs in terms of time, effort, and money

that will be expended as result of the Data Breach for the remainder of the lives of Plaintiffs

and Class Members; and (vii) the diminished value of Defendant’s they received.

       174.    As a direct and proximate result of Defendant’s breach of its fiduciary duty,

Plaintiffs and Class Members have suffered and will continue to suffer other forms of

injury and/or harm, and other economic and non-economic losses.

                                         COUNT IV
                                    Unjust Enrichment
                         (On Behalf of Plaintiffs and Class Members)

       175.    Plaintiffs restate and reallege the allegations in the preceding paragraphs as

if fully set forth herein.

       176.    Plaintiffs bring this claim individually and on behalf of all Class Members.

       177.    This Claim is pleaded in the alternative to Count II above.

       178.    Upon information and belief, Defendant funds its data security measures

entirely from its general revenue, including payments made by or on behalf of Plaintiffs


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    Case 1:25-cv-00573-TDS-LPA          Document 1      Filed 07/08/25     Page 40 of 47
and the Class Members.

       179.   As such, a portion of the payments made by or on behalf of Plaintiffs and the

Class Members is to be used to provide a reasonable level of data security, and the amount

of the portion of each payment made that is allocated to data security is known to

Defendant.

       180.   Plaintiffs and Class Members conferred a monetary benefit on Defendant.

Specifically, they purchased goods from Defendant and/or its agents and in so doing

provided Defendant with their Private Information. In exchange, Plaintiffs and Class

Members should have received from Defendant the goods and that were the subject of the

transaction and have their Private Information protected with adequate data security.

       181.   Defendant knew that Plaintiffs and Class Members conferred a benefit which

Defendant accepted. Defendant profited from these transactions and used the Private

Information of Plaintiffs and Class Members for business purposes.

       182.   Defendant enriched itself by saving the costs it reasonably should have

expended on data security measures to secure Plaintiffs’ and Class Members’ Private

Information. Instead of providing a reasonable level of security that would have prevented

the hacking incident, Defendant instead calculated to increase its own profits at the expense

of Plaintiffs and Class Members by utilizing cheaper, ineffective security measures.

Plaintiffs and Class Members, on the other hand, suffered as a direct and proximate result

of Defendant’s decision to prioritize its own profits over the requisite security.

       183.   Under the principles of equity and good conscience, Defendant should not be

permitted to retain the money belonging to Plaintiffs and Class Members, because


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    Case 1:25-cv-00573-TDS-LPA          Document 1      Filed 07/08/25     Page 41 of 47
Defendant failed to implement appropriate data management and security measures that

are mandated by industry standards.

       184.   Defendant failed to secure Plaintiffs’ and Class Members’ Private

Information and, therefore, did not provide full compensation for the benefit Plaintiffs and

Class Members provided.

       185.   Defendant acquired the Private Information through inequitable means in

that it failed to disclose the inadequate security practices previously alleged.

       186.   If Plaintiffs and Class Members knew that Defendant had not reasonably

secured their Private Information, they would not have agreed to provide their Private

Information to Defendant.

       187.   Plaintiffs and Class Members have no adequate remedy at law.

       188.   As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class

Members have suffered and will suffer injury, including but not limited to: (a) actual

identity theft; (b) the loss of the opportunity of how their Private Information is used; (c)

the compromise, publication, and/or theft of their Private Information; (d) out-of-pocket

expenses associated with the prevention, detection, and recovery from identity theft, and/or

unauthorized use of their Private Information; (e) lost opportunity costs associated with

efforts expended and the loss of productivity addressing and attempting to mitigate the

actual and future consequences of the Data Breach, including but not limited to efforts

spent researching how to prevent, detect, contest, and recover from identity theft; (f) the

continued risk to their Private Information, which remains in Defendant’s possession and

is subject to further unauthorized disclosures so long as Defendant fails to undertake


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    Case 1:25-cv-00573-TDS-LPA          Document 1      Filed 07/08/25     Page 42 of 47
appropriate and adequate measures to protect Private Information in its continued

possession; and (g) future costs in terms of time, effort, and money that will be expended

to prevent, detect, contest, and repair the impact of the Private Information compromised

as a result of the Data Breach for the remainder of the lives of Plaintiffs and Class Members.

       189.   As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class

Members have suffered and will continue to suffer other forms of injury and/or harm.

       190.   Defendant should be compelled to disgorge into a common fund or

constructive trust, for the benefit of Plaintiffs and Class Members, proceeds that they

unjustly received from them. In the alternative, Defendant should be compelled to refund

the amounts that Plaintiffs and Class Members overpaid for Defendant’s services.

                                          COUNT V
                             DECLARATORY JUDGMENT
                             (Plaintiffs on behalf of the Class)

       191.   Plaintiffs restate and reallege the preceding allegations in the paragraphs

above as if fully alleged herein.

       192.   Plaintiffs bring this claim individually and on behalf of the Class.

       193.   Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., this Court

is authorized to enter a judgment declaring the rights and legal relations of the parties and

granting further necessary relief. Furthermore, the Court has broad authority to restrain

acts, such as here, that are tortious and violate the terms of the federal statutes described in

this Complaint.

       194.   An actual controversy has arisen in the wake of the Data Breach regarding

Defendant’s present and prospective common law and other duties to reasonably safeguard


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    Case 1:25-cv-00573-TDS-LPA          Document 1       Filed 07/08/25     Page 43 of 47
Plaintiffs’ and Class members’ PII, and whether Defendant is currently maintaining data

security measures adequate to protect Plaintiffs and Class members from future data

breaches that compromise their PII. Plaintiffs and the Class remain at imminent risk that

additional compromises of their PII will occur in the future.

       195.   The Court should also issue prospective injunctive relief requiring Defendant

to employ adequate security practices consistent with law and industry standards to protect

consumers’ PII.

       196.   Defendant still possess Plaintiffs’ and Class members’ PII.

       197.   Defendant has made no announcement that it has changed its data storage or

security practices relating to the storage of Plaintiffs’ and Class members’ PII.

       198.   To Plaintiffs’ knowledge, Defendant has made no announcement or

notification that it has remedied the vulnerabilities and negligent data security practices

that led to the Data Breach.

       199.   If an injunction is not issued, Plaintiffs and the Class will suffer irreparable

injury and lack an adequate legal remedy in the event of another data breach at Krispy

Kreme. The risk of another such breach is real, immediate, and substantial.

       200.   The hardship to Plaintiffs and Class members if an injunction does not issue

exceeds the hardship to Defendant if an injunction is issued. Among other things, if another

data breach occurs at Krispy Kreme, Plaintiffs and Class members will likely continue to

be subjected to a heightened, substantial, imminent risk of fraud, identify theft, and other

harms described herein. On the other hand, the cost to Defendant of complying with an

injunction by employing reasonable prospective data security measures is relatively


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   Case 1:25-cv-00573-TDS-LPA          Document 1       Filed 07/08/25    Page 44 of 47
minimal, and Defendant has a pre-existing legal obligation to employ such measures.

       201.   Issuance of the requested injunction will not compromise the public interest.

To the contrary, such an injunction would benefit the public by preventing another data

breach at Krispy Kreme, thus eliminating the additional injuries that would result to

Plaintiffs and Class members, along with other consumers whose PII would be further

compromised.

       202.   Pursuant to its authority under the Declaratory Judgment Act, this Court

should enter a judgment declaring that Krispy Kreme implement and maintain reasonable

security measures, including but not limited to the following:

         a.     Engaging third-party security auditors/penetration testers, as well as

                internal security personnel, to conduct testing that includes simulated

                attacks, penetration tests, and audits on Krispy Kreme’s systems on a

                periodic basis, and ordering Krispy Kreme to promptly correct any

                problems or issues detected by such third-party security auditors;

         b.     Engaging third-party security auditors and internal personnel to run

                automated security monitoring;

         c.     Auditing, testing, and training its security personnel regarding any new or

                modified procedures;

         d.     Purging, deleting, and destroying PII not necessary for its provisions of

                services in a reasonably secure manner;

         e.     Conducting regular database scans and security checks; and

         f.     Routinely and continually conducting internal training and education to


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   Case 1:25-cv-00573-TDS-LPA          Document 1     Filed 07/08/25    Page 45 of 47
                   inform internal security personnel how to identify and contain a breach

                   when it occurs and what to do in response to a breach.

                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly situated,

pray for relief as follows:

              a.       For an Order certifying this action as a Class action and appointing

       Plaintiffs as a Class Representative and their counsel as Class Counsel;

              b.       For equitable relief enjoining Ahold from engaging in the wrongful

       conduct complained of herein pertaining to the misuse and/or disclosure of

       Plaintiffs’ and Class members’ Private Information, and from refusing to issue

       prompt, complete and accurate disclosures to Plaintiffs and Class members;

              c.       For equitable relief compelling Ahold to utilize appropriate methods

       and policies with respect to consumer data collection, storage, and safety, and to

       disclose with specificity the type of Personal Information compromised during the

       Data Breach;

              d.       For equitable relief requiring restitution and disgorgement of the

       revenues wrongfully retained as a result of Ahold’s wrongful conduct;

              e.       Ordering Ahold to pay for not less than three years of credit

       monitoring for Plaintiffs and the Class;

              f.       For an award of actual damages, compensatory damages, statutory

       damages, and statutory penalties, in an amount to be determined, as allowable by

       law;


                                              46

    Case 1:25-cv-00573-TDS-LPA          Document 1      Filed 07/08/25      Page 46 of 47
             g.       For an award of punitive damages, as allowable by law;

             h.       For an award of attorneys’ fees and costs, and any other expense,

      including expert witness fees;

             i.       Pre- and post-judgment interest on any amounts awarded; and,

             j.       Such other and further relief as this court may deem just and proper.

                               JURY TRIAL DEMANDED

             Plaintiffs demand a trial by jury on all claims so triable.


Dated: July 8, 2025                        Respectfully submitted,

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                                             47

   Case 1:25-cv-00573-TDS-LPA          Document 1      Filed 07/08/25      Page 47 of 47
